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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                )
VIPULA D. VALAMBHIA, et al.,    )
                                )
                                )
         Plaintiffs,            )
                                )
     v.                         )                    Civil Action No. 18-cv-370 (TSC)
                                )
UNITED REPUBLIC OF TANZANIA, et )
al.,                            )
                                )
         Defendants.            )
                                )


                                                 ORDER

       For the reasons set forth in the court’s Memorandum Opinion dated March 31, 2019, ECF

No. 18, it is hereby

       ORDERED that Defendants’ Motion to Dismiss, ECF No. 13, is GRANTED.

       This is a final and appealable Order.

       The Clerk of the Court is directed to close this case.


Date: March 31, 2019


                                               Tanya S. Chutkan
                                               TANYA S. CHUTKAN
                                               United States District Judge
